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    1                     IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
    2                              EASTERN DIVISION
    3    NATHSON E. FIELDS,                             )   Docket No. 10 C 1168
                                                        )
    4                                  Plaintiff,       )
                                                        )
    5                    vs.                            )
                                                        )
    6    CITY OF CHICAGO, et al.,                       )   Chicago, Illinois
                                                        )   November 14, 2016
    7                                  Defendants.      )   5:30 o'clock p.m.
    8               TRANSCRIPT OF PROCEEDINGS - JURY SELECTION
               BEFORE THE HONORABLE MATTHEW F. KENNELLY, AND A JURY
    9
  10     APPEARANCES:
  11
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  15                                LOEVY & LOEVY
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  20     NOTE: THIS IS A PARTIAL TRANSCRIPT. IN THE EVENT OF AN
               APPEAL, PLEASE CHECK TO SEE IF A FULL TRANSCRIPT
  21           IS ON FILE. IF ONE IS, USE THE PAGINATION OF
               THAT TRANSCRIPT.
  22
  23
         Court Reporter:            MS. CAROLYN R. COX, CSR, RPR, CRR, FCRR
  24                                Official Court Reporter
                                    219 S. Dearborn Street, Suite 2102
  25                                Chicago, Illinois 60604
                                    (312) 435-5639
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    1    APPEARANCES CONTINUED:
    2    For Defendant
         City of Chicago:           DYKEMA GOSSETT PLLC
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    1                                     * * * * *
    2      (The following proceedings were had in open court outside
    3    the presence and hearing of the jury:)
    4               THE COURT: Okay. So, number one, nobody leaves the
    5    room with any copies of the questionnaires. I need all copies
    6    of the questionnaire left here. And --
    7               MR. BURNS: You want a copy of the background,
    8    Judge --
    9               THE COURT: Nobody raised any issues on it, so,
  10     frankly, I don't need it. It's just more paper for me.
  11                MR. BURNS: No, I think you had a copy.
  12                THE COURT: Oh, I do. It's right here.
  13                My suggestion would be that you just preserve it just
  14     in case anything comes up later. Just have somebody stick it
  15     in an envelope somewhere.
  16                I need the questionnaires before you leave.
  17                Anyway, so what issues -- Mr. Loevy, you said you had
  18     something you wanted to take up with me.
  19                MR. LOEVY: Several, your Honor, but by far, the most
  20     important one is how we're going to handle the '72 conviction.
  21     Is this an appropriate time to raise that, your Honor?
  22                THE COURT: Well, if you think it's going to come up
  23     in openings. I mean --
  24                MR. LOEVY: Yes.
  25                THE COURT: -- I thought I made a ruling on it that
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    1    was reasonably clear, but maybe I didn't.
    2               MR. LOEVY: The ruling was that -- I thought that we
    3    had to decide what we were going to declare on the death
    4    penalty. And here's --
    5               THE COURT: Hang on a second.
    6               MR. LOEVY: Sure.
    7               THE COURT: Let me just -- I, like you, have been
    8    kind of preoccupied all day, so let me get out the...
    9               What I said I was going to discuss with you today is
  10     when and how we're going to discuss it. I didn't say we were
  11     necessarily going to discuss it today. I just wanted to
  12     figure out when it needs to be discussed.
  13                MR. LOEVY: Well, we want, in opening, no reference
  14     to the fact that the crime was for murder, and we certainly
  15     don't want it in Mr. Fields' testimony.
  16                THE COURT: Is he the first witness?
  17                MR. LOEVY: Yes, your Honor.
  18                THE COURT: All right.
  19                MR. KULWIN: Well --
  20                MR. LOEVY: So, your Honor, I would like to make the
  21     argument, if you'll allow me.
  22                THE COURT: So time out.
  23                MR. LOEVY: Yeah.
  24                THE COURT: I mean, I -- I mean, I guess I tried to
  25     be as clear as I possibly could about, you know, what had been
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    1    ruled on before. This is at pages -- this is the -- it's the
    2    ruling on November 12th. This was Saturday, called order on
    3    certain motions for reconsideration and non-Monell motions in
    4    limine. And the discussion of the '72 murder conviction
    5    starts over on page 9 and carries through to basically the end
    6    of page 13.
    7               I basically said that -- I basically reviewed the
    8    rulings that I have made, and prior to trial, I had overruled
    9    a number of grounds that had been argued by the defense for
  10     putting it in. I deferred a couple of things. And during the
  11     trial, there was some further developments, which are
  12     discussed at page 11 over to page 12 of the ruling of November
  13     the 12th, which, by the way, was actually -- maybe it was
  14     November the 11th. You know which one I am talking about.
  15                And then on page 12, I say this:
  16                Fields says that his then lead trial counsel, in what
  17     he characterizes as a poor mistake in strategic decision,
  18     opened the door to admission of the 1972 murder conviction,
  19     and he says that he does not intend to make the same mistake
  20     at the upcoming trial. Defendants say it was no mistake and
  21     that the prior ruling should stand. Both sides are partly
  22     right about this. The Court rejected most of the grounds
  23     offered by the defendants for introducing the 1972 murder
  24     conviction. It eventually admitted the conviction mainly
  25     because of the decision made by Fields to use the fact that a
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    1    death sentence had been imposed to enhance his damages. But
    2    Fields is right when he says he opened the door to this based
    3    on the way he tried the case previously. Defendants are also
    4    right when they say that Fields made a conscious decision to
    5    open the door, at least keep it open during the discussion
    6    referenced above. The fact that Fields opened the door during
    7    the prior trial does not mean he will do so again. That
    8    remains to be seen.
    9               MR. LOEVY: I got you.
  10                THE COURT: So, I mean, I think what I basically am
  11     saying there is that before trial, I had essentially kept it
  12     out and I let it in because of something that happened during
  13     the trial.
  14                MR. LOEVY: I agree, your Honor. I guess what I am
  15     arguing now is that we should be able to mention the death
  16     penalty, and I would like to persuade your Honor that that
  17     doesn't open the door to the fact that the crime was a murder,
  18     and we have -- two arguments, your Honor.
  19                You know, I think I was overcomplicating it when I
  20     argued that the causation point, it's not material because it
  21     doesn't -- you know, we're not arguing that but for their
  22     misconduct, he wouldn't have gotten the death sentence.
  23                It really is a 401/403 argument. 401, it is
  24     probative, it is --
  25                THE COURT: But what's the "it"?
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    1               MR. LOEVY: The fact that the crime he was convicted
    2    of, the jury is going to hear he was convicted of a crime, the
    3    fact that it was, in fact --
    4               THE COURT: The Smith/Hickman.
    5               MR. LOEVY: No, the '72 conviction.
    6               THE COURT: Okay.
    7               MR. LOEVY: They are going to hear he was convicted
    8    in '72 of a crime. That's where it is, unless we open the
    9    door.
  10                THE COURT: Right.
  11                MR. LOEVY: We would like to open -- we would like to
  12     argue that he --
  13                THE COURT: Wait a second.
  14                MR. LOEVY: Sure.
  15                THE COURT: I apologize, but for me, like you,
  16     it's 5:40 in the afternoon. Where is that?
  17                MR. LOEVY: No. 9.
  18                THE COURT: Page 9?
  19                MR. LOEVY: I think that's the whole thing you just
  20     read to us.
  21                THE COURT: Said it was inadmissible to impeach his
  22     credibility -- so when you say the jury is going to hear about
  23     it, how are they going to hear about it?
  24                MR. LOEVY: We had it -- well, we had an
  25     understanding that they were allowed to bring in that he was
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    1    convicted of a crime but not that it was a -- that the crime
    2    was, in fact, murder.
    3               So here's what I'm saying to your Honor. Okay? We
    4    think that they should be -- the jury should be told that
    5    in '72, he got convicted of a crime and he went to prison.
    6    The marginal probative value of saying that that crime was
    7    murder is almost nil because he's already -- when he gets
    8    sentenced, he's looking at four murders, so telling the jury
    9    that 14 years earlier he had a fifth murder, it was actually
  10     an accountability theory, is -- the probative value is almost
  11     zero.
  12                And, your Honor, the key to my argument is the
  13     prejudice is so overwhelming, when they find -- the jury hears
  14     that he had a '72 crime that wasn't just a crime but it was
  15     for murder, that was the first third of their
  16     cross-examination, it was the first third of their opening
  17     statement, it was their whole case, they never even made the
  18     materiality argument that you said that arguably it would be
  19     open for if we did the death penalty. They never even argued
  20     that that's why he got the death penalty. They used it for
  21     propensity, propensity, propensity, propensity.
  22                So what we're asking, your Honor, is to allow us to
  23     talk about the death penalty and allow the jury to hear that
  24     he was convicted of a crime for which he did 10 years in
  25     prison or whatever it was, and that he got released.
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    1               And the marginal probative value of saying, well,
    2    hold on a sec, the crime he got convicted was also murder is
    3    almost nil, and the prejudice is overwhelming.
    4               And not to repeat, but, your Honor, but at the last
    5    trial, you've seen this trial twice now, and you saw what they
    6    did, what the defense did, when it came in that it was a
    7    murder conviction. That was the whole defense. It was a
    8    propensity defense. That was all they cross-examined him
    9    about. Well, isn't it true you're a murderer? Isn't it true
  10     you shot in a car. Mr. Burns asked him, Do you ever think
  11     about Mr. Watkins?
  12                That is so prejudicial that they are going to award
  13     him $80,000, even if they think they got framed, because once
  14     they hear that it's a murder, Mr. Fields says to say, well,
  15     no, actually, it was an accountability theory. And then they
  16     say, well, didn't you fire a gun at a car? And then it's
  17     over.
  18                What they should hear is that he was convicted of a
  19     crime, he spent 10 years in prison, and that achieves the
  20     materiality point.
  21                THE COURT: So to be clear about this --
  22                MR. LOEVY: Yeah.
  23                THE COURT: -- the only thing -- the only thing that
  24     prior to the last trial that I admitted was the fact that
  25     Mr. Fields had given false alibi testimony, this is
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     1   discussed -- at the trial of the 1972 murder --
     2              MR. LOEVY: Okay.
     3              THE COURT: -- this is discussed at pages 10 and 11
     4   of the ruling that I just talked about --
     5              MR. KULWIN: And for --
     6              THE COURT: -- I had ruled that, Giving a false alibi
     7   testimony at the trial in the '72 murder charge was admissible
     8   but that did not authorize eliciting testimony regarding the
     9   nature of the charge, i.e., that it was a murder charge or a
   10    charge for a violent crime. I did not rule prior to trial
   11    that it was admissible for any other purpose. I simply
   12    overruled the argument that it was admissible to impeach
   13    credibility, ruled that it was inadmissible to try to show a
   14    pattern of behavior, I ruled that it was inadmissible to
   15    explain this is why he was picked to carry out the murder.
   16    You know, I overruled a bunch of other stuff too.
   17               So it really -- the '72 conviction came in only
   18    because of things that happened during the trial and the
   19    arguments that I accepted at the time on that. So you kind of
   20    skipped over that step, so I just wanted to make that clear.
   21               MR. LOEVY: Thank you.
   22               The argument that I understood it came in for was
   23    Mr. Fields said, I would like to pursue damages for the death
   24    penalty. And then your Honor said, well, then it's material
   25    that you had this fifth murder conviction, so I'm letting it
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     1   in.
     2              THE COURT: And that's the topic that -- and I have
     3   said myself before probably in this case that judges don't
     4   read footnotes. I used a footnote on page 13 of that ruling,
     5   and it's that that I sort of -- I guess I was sort of
     6   questioning out loud whether there was a correct decision.
     7              MR. LOEVY: We --
     8              THE COURT: Let me hear from the defendants what
     9   exactly you want to put in and the theory that you want to put
   10    it in.
   11               MR. KULWIN: First of all, Judge, I think the
   12    plaintiff has misapprehended your rulings, as I understand it.
   13    What you said is and what makes perfect sense --
   14               THE COURT: Where and when?
   15               MR. KULWIN: In this opinion.
   16               THE COURT: This opinion.
   17               MR. KULWIN: Yes, in the opinion you were just
   18    reading from. And you hit the nail on the head. The whole
   19    ball of wax at this point is footnote 4.
   20               We are not going to re-argue the ruling. You ruled.
   21    You basically ruled just the way you said and what you wrote.
   22               The issue is this. If they're -- if you're ruling
   23    that we cannot bring up that it was a murder conviction, then
   24    Vaughn/White is non-material. As you point out, it would seem
   25    that the Court -- it would seem to the Court that any
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     1   misconduct that was material regarding Fields' conviction on
     2   Smith/Hickman, by definition, led to the death penalty because
     3   that conviction rendered him death eligible.
     4              Now, what they want to argue Vaughn/White for is, no
     5   offense, is propensity, propensity, propensity, and
     6   propensity. And, quite frankly, I'm not particularly
     7   concerned about what, you know, happened at the last trial
     8   because what Ms. Gorman did at the last trial, what's good for
     9   the goose is good for the gander, is spend hours and hours and
   10    hours about the holdover sheet and the warrant and the typo.
   11               Vaughn/White is immaterial to this case unless, as
   12    you ruled in the last trial, it's material if, if, if the
   13    plaintiff is going to say, I got the death penalty because of
   14    Vaughn/White, which is what the argument was that they made
   15    last time.
   16               THE COURT: Can I have you pause for a second?
   17               MR. KULWIN: Sure.
   18               THE COURT: I want to sort of restate your argument
   19    to make sure I'm getting it.
   20               So what you're saying, if I'm understanding you
   21    correctly, is if -- is if the plaintiff is saying, I got the
   22    death penalty because of Smith/Hickman, then Vaughn/White
   23    isn't admissible . If the plaintiff wants to say that I got
   24    the death penalty because of Smith/Hickman plus Vaughn/White,
   25    then that's why Vaughn/White is coming in, and then what?
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     1   That's my --
     2              MR. KULWIN: And then the --
     3              THE COURT: I got it right so far?
     4              MR. KULWIN: Right, and then the murder conviction
     5   comes in because the judge -- the jury could have found that,
     6   well, you know, Vaughn/White was bad, but what really did it
     7   for us was he had been convicted of murder before. He wasn't
     8   even charged in Vaughn/White. He was not even charged.
     9              So the jury could have literally said -- Mr. Noland
   10    is standing here, I might be saying something wrong, but I
   11    don't think so. What the jury could have been thinking in
   12    that death penalty case was, wow, he's death eligible for
   13    Smith/Hickman, but he's got this prior conviction for murder
   14    and not Vaughn/White.
   15               So it seems to me that they have no argument -- they
   16    cannot have their cake and eat it too. What they want is, we
   17    want to argue propensity, propensity, propensity on
   18    Vaughn/White even though we don't need it for the death
   19    penalty because, as you point out, he's death eligible by
   20    Smith/Hickman, and we want to keep out the murder, which, as
   21    you pointed out in the last trial very, very specifically, it
   22    seems -- and I might be misquoting, but I think what you said
   23    was, well, it seems to me that if you're going to argue
   24    Vaughn/White, then the murder comes in for materiality.
   25    That's what you ruled.
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     1              THE COURT: Mr. Noland, is there anything
     2   non-repetitive that you want to add to what Mr. Kulwin said?
     3              MR. NOLAND: One thing. Death was issued in this
     4   case before that jury based on Smith/Hickman, Vaughn/White,
     5   and the 1972 murder. And so that would be -- if the death
     6   penalty is going to come in --
     7              THE COURT: We don't know what the fact -- finder of
     8   fact thought, but I understand your point.
     9              Okay. I have a question for you before you start
   10    answering this. So what is the significance of the
   11    Vaughn/White -- of anything having to do with fabrication,
   12    concealment, et cetera, regarding Vaughn/White in this case?
   13               MR. LOEVY: Well, the primary argument is probable
   14    cause, your Honor. Anthony Sumner says, I am a credible
   15    person. I'm telling you he did Smith/Hickman and he did
   16    Vaughn/White.
   17               Then he said, you know what? After he was convicted,
   18    I lied about Vaughn/White. Everything I told you was true
   19    except but I superimposed Nate Fields into it. And then they
   20    continued the prosecution against Nate Fields for the
   21    Smith/Hickman murder even after learning that Anthony Sumner
   22    had lied -- had fabricated Fields' involvement.
   23               There is no argument that Vaughn/White is not
   24    relevant to probable cause. You know, they want to talk
   25    about 50 facts --
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     1              THE COURT: And probable cause comes in, if for no
     2   other reason, on the malicious prosecution.
     3              MR. LOEVY: Exactly. On the 2009. They continued to
     4   prosecute even after they knew that the main source of the
     5   prosecution had lied about Fields in the exact same way.
     6              You know, until we accidentally tried to muss things
     7   up, there was no argument that Vaughn/White wasn't part of the
     8   case. Mr. Kulwin's argument is backwards --
     9              THE COURT: That's annoying. Sit down and stop doing
   10    that.
   11               MR. LOEVY: Mr. Kulwin's --
   12               THE COURT: You have a bunch of bobbleheads in the
   13    back, and it's annoying.
   14               MR. LOEVY: Mr. Kulwin's argument is backwards. He's
   15    saying, if you seek the death penalty, therefore, if we want
   16    to introduce to the jury that he got the death penalty, well,
   17    then the reasons why he got the death penalty are admissible.
   18    That doesn't mean if we don't put in evidence of the death
   19    penalty, that Vaughn/White is therefore not relevant. I mean,
   20    it's part of the case. It's how Sumner got arrested. It's
   21    what Sumner told about Fields. It's inextricably intertwined.
   22               And there is no motion to bar Vaughn/White. I mean,
   23    as, you know --
   24               THE COURT: Well, I mean, he is kind of saying that
   25    now.
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     1              MR. LOEVY: Well, you know, at 6:00 o'clock --
     2              THE COURT: You are not in a very good position, Mr.
     3   Loevy --
     4              MR. LOEVY: Point made.
     5              THE COURT: -- to talk to me about things that are
     6   being said at the last minute. Okay?
     7              MR. LOEVY: Point made.
     8              THE COURT: Anyway.
     9              MR. LOEVY: But back to the point that I started
   10    with, which is we would like to introduce evidence of the
   11    death penalty --
   12               THE COURT: So to get back to my question now, you
   13    say that Vaughn/White comes in because it has to do with
   14    Mr. Sumner and it goes to the issue of probable cause.
   15               MR. LOEVY: Right. In other words --
   16               THE COURT: And what's the argument going to be
   17    regarding -- how does the death penalty get used in your case
   18    in any way, shape, or form?
   19               MR. LOEVY: We would like to put on Mr. Fields to
   20    give very powerful testimony that, when I was wrongfully
   21    convicted for Smith/Hickman, I got the death penalty, and it
   22    caused me all kinds of emotional distress because they're
   23    going to lethally inject me, and he has all kinds of very,
   24    very poignant stories about what life was like on death row.
   25               You ruled at the last trial if we do that, if we open
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     1   the door by talking about the fact that he got the death
     2   penalty, that would open the door to the fact that --
     3              THE COURT: Thanks. I have your answer to my
     4   question.
     5              So let me go back to Mr. Kulwin. And here is my
     6   question for you.
     7              MR. KULWIN: Sure.
     8              THE COURT: So my question is -- so if you look at --
     9   and this is why I sort of was questioning -- not sort of -- I
   10    was questioning my own ruling on this death penalty
   11    materiality issue in footnote 4 of the decision that we are
   12    talking about here, the jury instructions don't really say
   13    anything about, you have to find that it was material to
   14    whether -- anything that was material to whether Mr. Fields
   15    got the death penalty. It's really not an issue that the jury
   16    has to decide.
   17               Mr. Loevy has said that the reason Vaughn/White comes
   18    in -- and I can deal with arguments about propensity, okay? I
   19    can absolutely deal with that. I can preclude people from
   20    making arguments about propensity. But he says it comes in on
   21    the issue of whether there was probable cause to either
   22    commence or continue the prosecution at various points in
   23    time.
   24               So what do you think is the relevance of Vaughn/White
   25    if the plaintiff makes the contention that Mr. Loevy just said
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     1   he's going to make; in other words, that the fact that I was
     2   sentenced to death enhanced the degree of emotional distress
     3   for reasons that he described? Why is Vaughn/White
     4   significant to that, or is it?
     5              MR. KULWIN: It isn't.
     6              THE COURT: Okay.
     7              MR. KULWIN: Vaughn/White doesn't -- as you point out
     8   in your opinion, Judge, and there's two points I want to
     9   address, Smith/Hickman made him death eligible.
   10               THE COURT: Right.
   11               MR. KULWIN: He doesn't need Vaughn/White. So that's
   12    out the door.
   13               Now, what Mr. Loevy is now arguing is, we are not
   14    arguing Vaughn/White for the death penalty.
   15               THE COURT: Right.
   16               MR. KULWIN: We're arguing --
   17               THE COURT: That's the way I heard his argument.
   18               MR. KULWIN: Right. We're arguing Vaughn/White for a
   19    completely different reason. We're arguing because it shows
   20    that the police didn't have probable cause because they knew
   21    Sumner put him in another double murder.
   22               Well, that's easily solved, Judge. You're letting us
   23    put in that there's another offense that he was convicted of,
   24    and, you know, he lied, and he got three other guys to lie for
   25    him, he suborned perjury, that all comes in. They can have
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     1   someone testify, well, isn't it true that Mr. Sumner -- or
     2   they could argue Mr. Sumner also wrongfully put Mr. Fields
     3   into another double murder that happened at or near the same
     4   time without going into all the details about it. As you may
     5   recall --
     6              THE COURT: I don't.
     7              MR. KULWIN: Okay. I apologize. So here is what it
     8   is. There were, I would say, 30 percent to 50 percent of
     9   Mr. Fields' direct testimony in both trials.
   10               THE COURT: Had to do with what?
   11               MR. KULWIN: Had to do with Vaughn/White.
   12    Remember -- I'm sorry. You don't remember.
   13               THE COURT: Had to do with his involvement or not --
   14               MR. KULWIN: No, with his -- he was put in a lineup
   15    with Vaughn/White --
   16               THE COURT: Ah. This is about the lineup.
   17               MR. KULWIN: -- he could see through the one-way
   18    mirrors --
   19               THE COURT: This is about the lineup.
   20               MR. KULWIN: Yeah. O'Callaghan framed him on that
   21    one too, the holdover sheet is phony, it proves that they were
   22    out to get him on Vaughn/White. And it's all propensity
   23    evidence, and it's completely non-germane because there's
   24    no -- it's not part of their case.
   25               And so that comes out. It's completely prejudicial
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     1   for them to be able to argue and spend an inordinate amount of
     2   time, an inordinate amount of time, on a completely different
     3   double murder that he wasn't charged with because the only
     4   thing they have for that is it's propensity.
     5              Again, it would be totally unfair to have the cake
     6   and eat it too.
     7              MR. LOEVY: Your Honor --
     8              THE COURT: What you're referring to as the
     9   propensity evidence involving the defendants --
   10               MR. KULWIN: Right.
   11               THE COURT: -- on Vaughn/White has to do with --
   12    largely has to do with the lineup.
   13               MR. KULWIN: Right.
   14               THE COURT: Everybody pause for a second.
   15               MR. KULWIN: The lineup --
   16               THE COURT: Can I -- let me take a note.
   17               The lineup, comma -- I am going to get to after the
   18    comma in a second.
   19               What else besides the lineup?
   20               MR. KULWIN: Well, they're saying that -- they're
   21    basically saying he did the exact same thing. Not him. What
   22    they're saying --
   23               THE COURT: Who is the "him"?
   24               MR. KULWIN: Mr. O'Callaghan.
   25               That O'Callaghan -- there were these other suspects
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     1   and the little kids identified -- before O'Callaghan was in
     2   the case -- O'Callaghan was in the case for one day. He did
     3   the lineup. And then other detectives took it over for about,
     4   I don't know, six or eight weeks. And the little kids went to
     5   the lineup, and they identified the wrong people, and
     6   O'Callaghan testified that he would never put them in that
     7   lineup to prove that he wasn't involved in that.
     8              We literally tried in that case whether or not
     9   O'Callaghan -- we spent -- you spent, again, a long time
   10    talking about was -- A, was O'Callaghan even involved in
   11    Vaughn/White, B, was O'Callaghan -- did Fields actually stand
   12    in a lineup on June 30 -- on June 13th --
   13               THE COURT: So what's your response to -- and I
   14    understand that you're talking about how this was argued at
   15    some point as propensity evidence, but what's your response to
   16    Mr. Loevy's argument that what the defendants had or at least
   17    thought they had on Vaughn/White or contended they had on
   18    Vaughn/White goes to the issue of probable cause on the
   19    malicious prosecution?
   20               MR. KULWIN: Two-fold, Judge. It had nothing to do
   21    with it, number one; and number two, it's solid without going
   22    into all the details. Because what he's arguing is, the heart
   23    of it is, the core of it is --
   24               THE COURT: Sumner?
   25               MR. KULWIN: Right. That's what he just argued.
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     1   That's what he argued. That's exactly what he just argued.
     2   He said, Judge, they knew Sumner had lied on him. Well, he
     3   could have that evidence. I don't -- you know, obviously, I'm
     4   not waiving my objections on that. We've already filed our
     5   motions.
     6              THE COURT: Yeah.
     7              MR. KULWIN: But they could have that evidence. All
     8   they have to do is -- it takes two minutes.
     9              MR. LOEVY: But --
   10               THE COURT: Not yet.
   11               MR. KULWIN: It takes two minutes. Isn't it true
   12    that Sumner -- Sumner put him in another double murder.
   13               THE COURT: Mr. Noland, what did you want to say?
   14               MR. NOLAND: I would simply add on that argument from
   15    Mr. Loevy that the Court did bar the defendants from
   16    testifying as to their knowledge of the other cooperating El
   17    Rukn statements for the purpose of the 2009 trial --
   18               THE COURT: So as I said before, the number of in
   19    limine rulings I made in this case is the triple digits at
   20    this point. What did I rule and when did I rule it?
   21               MR. NOLAND: On April 11, 2004 --
   22               THE COURT: 2004? No, it can't be 2004. It only
   23    feels like I have had this case for 12 years.
   24               MR. NOLAND: 2014.
   25               THE COURT: 2014. Okay.
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     1              MR. NOLAND: Pages 630 to 647.
     2              THE COURT: Tell me again what that was, that I
     3   precluded what?
     4              MR. NOLAND: You precluded the defendants, the
     5   individual defendants, there was a discussion --
     6              THE COURT: Right.
     7              MR. NOLAND: -- of whether we could ask them --
     8              THE COURT: I see what you're looking at. Do you
     9   have my ruling there?
   10               MR. NOLAND: I have -- actually, it's our cheat sheet
   11    of your ruling --
   12               MR. KULWIN: You could have it.
   13               THE COURT: I don't want to look at your cheat sheet.
   14               MR. KULWIN: What's the date on it?
   15               MR. NOLAND: I don't think it's a document. I think
   16    this was a transcript, discussion -- my recollection is --
   17               THE COURT: Say it again? I precluded the defendants
   18    from testifying about what?
   19               MR. NOLAND: As to the knowledge that they learned
   20    from cooperating El Rukns that --
   21               THE COURT: About?
   22               MR. NOLAND: -- Nathson Fields had done the
   23    Smith/Hickman murders.
   24               THE COURT: How does that relate to what we're
   25    talking about on Vaughn/White?
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     1              MR. NOLAND: Because Mr. Loevy is arguing about
     2   probable cause and the defendants' knowledge of what Anthony
     3   Sumner said and didn't say --
     4              THE COURT: If I can kind of summarize the argument
     5   here -- again, I'm doing this to make sure that I'm getting
     6   it -- if Vaughn/White is relevant to probable cause, that
     7   doesn't warrant putting in the evidence about the lineup and
     8   the other misconduct that surrounded -- we'll just say
     9   surrounded that --
   10               MR. KULWIN: Correct.
   11               THE COURT: -- because that really doesn't bear on
   12    the issue of probable cause. I get that.
   13               And I'm sorry to be kind of small-minded or whatever
   14    about this, but one of the issues that's been kind of nagging
   15    at me or gnawing at me, and it's what I refer to in this
   16    footnote, is this whole issue about death penalty materiality.
   17    But I have to tell you, I think I screwed that up. Okay? I
   18    mean, I don't think -- I don't think that -- that all of the
   19    whys and wherefores about whether Mr. Fields got the death
   20    penalty other than the fact that he was death eligible because
   21    of his conviction for the Smith/Hickman murders is relevant
   22    really on anything. I mean, it's not a question about, well,
   23    would you have gotten the death penalty if the Vaughn/White
   24    misconduct hadn't happened or if this hadn't happened. The
   25    fact of the matter is that when he's convicted of the
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     1   Smith/Hickman murders, he's rendered eligible for the death
     2   penalty, and there is no separate requirement of death penalty
     3   materiality. I mean, as a matter of causation, it just isn't
     4   there.
     5              But what you're saying, though, is that if all that
     6   is at issue here is this question that Mr. Loevy is talking
     7   about regarding -- regarding emotional distress, maybe -- and
     8   this question of probable cause, that doesn't warrant putting
     9   in all of the misconduct surrounding the lineup.
   10               Am I getting it more or less right?
   11               MR. KULWIN: You're absolutely right, Judge, and --
   12    but Mr. Noland raises a very good point, actually --
   13               THE COURT: Explain it --
   14               MR. KULWIN: Okay. Let me put a finer point --
   15               THE COURT: Nothing personal, Mr. Noland. It's late
   16    in the day. I don't need it twice.
   17               MR. KULWIN: Okay. Let me just put a finer point on
   18    it. Another aspect of the plaintiff's case here, as you may
   19    recall, maybe not, is that --
   20               THE COURT: He always uses the "may recall."
   21               MR. KULWIN: As you may recall.
   22               -- (continuing) is that in 2009, the police should
   23    have stopped the prosecutor -- the police should have either
   24    gone to the prosecutor -- they're guilty for allowing him to
   25    be prosecuted again in 2009 --
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     1              THE COURT: For Smith/Hickman.
     2              MR. KULWIN: For Smith/Hickman.
     3              -- (continuing) because they knew that Sumner had
     4   lied on him on Vaughn/White. That's one of the reasons. And
     5   they knew that, you know, Gerald Morris had flipped back and
     6   forth. We're going to have a whole big fight about that as to
     7   why during this trial.
     8              What Mr. Noland I believe is referencing is the
     9   defendants were precluded, these defendants, from saying, of
   10    course I didn't, you know -- I think that's what you -- I am
   11    not sure it's a hundred percent accurate -- is that the
   12    defendants were precluded from saying, why would I do
   13    anything? I knew by that point in time that five other El
   14    Rukns had pinned it on him.
   15               THE COURT: Had pinned -- what's the --
   16               MR. KULWIN: Had pinned the Smith/Hickman on him.
   17    Okay?
   18               I'm not -- I was planning on actually asking
   19    Detective O'Callaghan why -- what -- you know, did you make
   20    the decision in 2009? No, the state's attorney did. Did you
   21    have evidence as to why you thought he was guilty at that
   22    point in time? Yes. What was it? I had this, I had this, I
   23    had this, and I had the fact that a number of other El Rukns
   24    had now come forward since his conviction and said that he did
   25    Smith/Hickman.
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     1              So I'm not -- I'm not -- maybe I am unfamiliar with
     2   your ruling, but I thought I could do that. But I think
     3   that's the point you were trying to make.
     4              MR. NOLAND: If I may?
     5              THE COURT: Is that the point you were trying to
     6   make?
     7              MR. NOLAND: Well, Mr. Loevy's argument is it's the
     8   defendants' knowledge, so it's the defendants' knowledge of
     9   Mr. Sumner's lie. But the Court had barred the defendants
   10    themselves from talking about their knowledge of the other El
   11    Rukns. It would seem to be that -- you know, the same side of
   12    the coin.
   13               THE COURT: Okay. Mr. Loevy, you have the floor.
   14               MR. LOEVY: Thank you, your Honor.
   15               Your Honor, the Vaughn/White stuff is extremely
   16    relevant because it's the story. What happened was Anthony
   17    Sumner gets arrested in Cleveland.
   18               THE COURT: Right.
   19               MR. LOEVY: He's committed the Vaughn/White murders.
   20    They say to him, Anthony, we're going to give you the death
   21    penalty unless you give us something. You did this heinous
   22    crime, and we caught you.
   23               THE COURT: The heinous crime being Vaughn/White.
   24               MR. LOEVY: Vaughn/White. They caught him. And he
   25    admitted he did Vaughn/White. And they said, if you don't --
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     1   you're going to get the death penalty unless you give us a lot
     2   of cases and a lot of El Rukns. He gives them seven cases.
     3   He testified to that at Mr. Fields' criminal trial. He gives
     4   them seven cases where he says there's confessions. One of
     5   them is Smith/Hickman. The other one is Vaughn/White. He
     6   said, yes, I did Vaughn/White with Hawkins, and Mr. Fields, my
     7   landlord, he was there with us.
     8              Now, the defendants knew immediately that Sumner was
     9   lying about Vaughn/White, that -- and by the way, Sumner is
   10    the whole case. That's probable cause pursuant for murder.
   11    The reason they knew he was lying about Vaughn/White is
   12    because Vaughn/White was committed by two men. There was no
   13    dispute Vaughn/White was committed by two men. The two little
   14    children saw two men tie up their parents, shoot them and stab
   15    them. The two children did lineups for the two men.
   16    Vaughn/White was committed by two men, yet Sumner is saying,
   17    it was me, it was Hawkins, and it was Fields.
   18               So if they're going to pursue murder charges -- and
   19    he's like, oh, and by the way, Fields helped me with
   20    Smith/Hickman too, or, Fields helped Hawkins with
   21    Smith/Hickman.
   22               So Sumner gave him -- gave the police two crimes. He
   23    lied about one of them through his teeth --
   24               THE COURT: That's Vaughn/White.
   25               MR. LOEVY: Vaughn/White.
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     1              -- (continuing) and he did the same thing -- and then
     2   they found out later but before the second prosecution, he
     3   admitted, I lied about --
     4              THE COURT: Smith/Hickman.
     5              MR. LOEVY: -- Smith/Hickman -- no, I lied about
     6   Vaughn/White.
     7              THE COURT: Vaughn/White. Okay.
     8              MR. LOEVY: And then they pursued -- they continued
     9   to pursue Smith/Hickman, your Honor.
   10               So what Mr. Kulwin is saying is of course it's
   11    relevant that he lied about Fields and that's probable cause,
   12    so that's what we want to prove, that he lied about Fields.
   13    But it's also part of the story because that's how the whole
   14    thing started, they caught him in Cleveland --
   15               THE COURT: So where do these issues -- I mean, part
   16    of what I'm getting from Mr. Kulwin is that -- has to do with
   17    the issues regarding lineups and things like that.
   18               MR. LOEVY: I want to address that.
   19               THE COURT: How does that fit in --
   20               MR. LOEVY: Mr. Fields sat in no lineup for
   21    Vaughn/White. You might have gotten that impression. There's
   22    no lineup issue in Vaughn/White. They did -- O'Callaghan did
   23    a lineup before Sumner confessed, and they got the two wrong
   24    guys. And if they -- you know, that was a point --
   25               THE COURT: I thought there was a lineup involving
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     1   this case where there was an issue about a tattoo or
     2   something?
     3              MR. LOEVY: Yeah, that's the Smith/Hickman lineup.
     4              So we say that the lineups in Smith/Hickman were
     5   bogus. We -- you know, Mr. Kulwin I think just implied that
     6   there was some -- that there's a propensity argument. There
     7   was no lineup of Fields in Vaughn/White. So the lineup issue,
     8   we can cross off. The lineup issue was O'Callaghan did get
     9   these two children to identify --
   10               THE COURT: Time out for a second.
   11               MR. LOEVY: Okay.
   12               THE COURT: So --
   13               MR. LOEVY: So what's the propensity?
   14               THE COURT: I apologize, but, again, there's a lot of
   15    evidence in the case, and a lot of this I have not heard for
   16    two and a half years. Okay? So I assume there is a lineup
   17    report?
   18               MR. KULWIN: No.
   19               THE COURT: Is there a lineup report?
   20               MR. KULWIN: No.
   21               THE COURT: No lineup report.
   22               MR. KULWIN: Judge, let me refresh your recollection.
   23    Okay? I apologize. The facts that Mr. Loevy is talking about
   24    aren't the facts of the case, at least not the ones that was
   25    tried in this courtroom. Okay?
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     1              In this courtroom -- and if they're saying now, we're
     2   not going to put any of this evidence in, I'll take it. We
     3   can stop arguing. That's the first thing. Okay? Let's find
     4   that out because we can save ourselves all a lot of time.
     5   Okay?
     6              In this case twice, Mr. Fields took the stand and
     7   testified, I was in two lineups, one of them I could see
     8   through a one-way mirror --
     9              THE COURT: I recall that.
   10               MR. KULWIN: -- and there were two little heads. And
   11    then Ms. Gorman made a big deal that the warrant had
   12    Vaughn/White on it because it was the first case in a
   13    continuation of cases. And then they showed that the holdover
   14    that Mr. O'Callaghan had written Vaughn/White because he was
   15    also suspected of that. And then he tried to try the case
   16    that he was framed in Vaughn/White.
   17               If what Mr. Loevy is saying -- I'll take yes for an
   18    answer. If what Mr. Loevy is saying is, look, okay -- hold
   19    it, please. If what Mr. Loevy is saying is, look, Judge, we
   20    want to put in that someone lied on Fields in Vaughn/White,
   21    okay -- that's what he's saying. And that's all the evidence
   22    we're going to put in on that.
   23               Now, for this story about the --
   24               THE COURT: Finish the "if." "If" that's what they
   25    would say, then what?
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     1              MR. KULWIN: If that's all they're going to say, I
     2   think that they don't have to use the names Vaughn/White
     3   because that creates other confusion, they could just say
     4   "another double murder," then, okay. I don't agree with that,
     5   but I would understand you letting that in, okay, because
     6   Sumner is a critical witness and it goes to his credibility
     7   and it's a major issue in the case. Fine. Put that aside for
     8   a second.
     9              That doesn't mean that we have to have testimony
   10    about seeing through one-way mirrors, I was in a lineup that
   11    there's no lineup report for, zero.
   12               And one other fact that I'll make is -- and
   13    Mr. Noland is absolutely right, and I want to be clear about
   14    this because I don't want to violate any orders, I think he's
   15    wrong, is that there's no evidence that the police knew in
   16    Cleveland at the time Sumner put Fields in Vaughn/White that
   17    it was a lie. That's just false.
   18               THE COURT: Okay. Let me ask this question. We
   19    started off talking about the 1972 murders, and we have now
   20    ended up -- and it's largely because I pushed you that way --
   21    talking about Vaughn/White.
   22               MR. LOEVY: Right.
   23               THE COURT: So let me go kind of back to the question
   24    we started out with.
   25               What's the theory on which the defendants contend the
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     1   fact Mr. Fields had a murder conviction in 1972 comes in?
     2   What's the theory on which that comes in?
     3              MR. KULWIN: It comes in -- Mr. Noland can correct me
     4   if I'm wrong, Judge. Just because someone is death eligible
     5   doesn't mean the jury gives them death. They could hear --
     6              THE COURT: See, that sounds to me like an argument
     7   that Mr. Fields richly deserved the death penalty.
     8              MR. KULWIN: No, no, no, that's not what I'm saying.
     9   That's not what I'm saying at all.
   10               THE COURT: Okay. Let me put it in a different way.
   11    It sounds like an argument that irrespective of what led to
   12    the conviction, the Smith/Hickman conviction, which, by
   13    definition, rendered him eligible for the death penalty
   14    because it was a double murder or whatever, that he would have
   15    gotten the death penalty anyway. That's the thing that I
   16    think I botched, because I -- essentially, I think I imposed a
   17    double materiality requirement. You have to prove not just
   18    the materiality that's in the jury instruction, but that
   19    something was material to getting the death penalty as well.
   20               And the jury instructions don't say that, and just as
   21    a matter of elementary causation law, that's just not right.
   22    I mean, that's just not right.
   23               So is there some other theory --
   24               MR. KULWIN: I apologize, Judge, because I've been
   25    relying on your theories, which was basically --
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     1              THE COURT: Yeah, but that's what I said -- that's
     2   what I was sort of -- pretty strongly hinted --
     3              MR. KULWIN: Right, you did.
     4              THE COURT: -- in that footnote that was -- and I'm
     5   now -- now I'm not hinting anymore. I think I screwed that
     6   up.
     7              MR. KULWIN: Okay. Fine. But you also reference
     8   Vaughn/White. And maybe we're two ships passing in the wind
     9   and agreeing.
   10               All I'm saying is I don't want to have to deal in my
   11    opening statement and during this trial, okay, with the
   12    Vaughn/White lineups and all that. They can have their cake
   13    that Fields was wrongfully put into a double murder for
   14    another case without getting into -- and they can even argue
   15    that that's why they wrongfully went ahead on them without
   16    getting into all the details and implying, in my opinion,
   17    really falsely that when there's no lineup report, there's no
   18    credible evidence that he was in it, that Mr. O'Callaghan --
   19               THE COURT: This is what I am going to do. I have
   20    heard enough argument on this. I think it's time for me to
   21    kind of do something here.
   22               So first of all, I am going to say for the third
   23    time, I made a ruling at the previous trial that I think
   24    erroneously imposed a double materiality requirement, and I
   25    let in the '72 murder conviction; not the false alibi, which I
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     1   had let in for other reasons, but the nature of the
     2   conviction, and maybe even the details of the conviction, I
     3   let it in on the theory that it was material as to why
     4   Mr. Fields got the death penalty, and I thought, incorrectly,
     5   I believe, that that became a relevant issue because
     6   Mr. Fields was arguing that the emotional distress caused by
     7   the death penalty was part of his damages. That ruling was
     8   wrong. I think it's wrong as a matter of causation law.
     9   There's no extra materiality requirement. The fact that
   10    Mr. Fields was convicted of the Smith/Hickman murder rendered
   11    him eligible for the death penalty, and then it's not a fight
   12    over why he got it, why he didn't get it, whether he should
   13    have gotten it, did he get it for this reason, did he get it
   14    for that reason.
   15               So the 1972 murder conviction is not admissible on
   16    the theory that I ruled that it was admissible in the prior
   17    trial. That was an incorrect ruling. Okay? So there is a
   18    ruling.
   19               On the rest of it, whether it's ships passing in the
   20    night or in the wind or wherever, it sounds like to me that
   21    now where we are is that the defense is making an argument
   22    that what I'm going to call the lineup -- the alleged lineup
   23    episode or whatever the lineup episode is isn't relevant,
   24    isn't properly admissible, shouldn't be admitted because
   25    either it's not relevant or because it's propensity evidence
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     1   or because it's unfairly prejudicial or maybe perhaps all of
     2   the above.
     3              So here's the deal. Okay? And I apologize for
     4   making people write more stuff, but I am going to make you
     5   write more stuff. Okay?
     6              So I need -- I need your positions, and I don't
     7   need -- what I don't need and I don't want is some kind of
     8   stream of consciousness thing. And I know I am not going to
     9   get that because the writing on both sides of this case has
   10    been actually terrific, it has been, on both sides at all
   11    stages of the case.
   12               What I need is something that articulates each side's
   13    position on what I'll call the Vaughn/White evidence other
   14    than Mr. Sumner's false implication of Mr. Fields. I need an
   15    argument on the plaintiff's side about why this is -- exactly
   16    why this is relevant and why it's admissible. I need an
   17    argument on the defense side for exactly why it's not
   18    admissible and not relevant.
   19               If you want to refer to the way it was argued in the
   20    prior trial, that's perfectly fair game. However, there's
   21    like 5,000 pages of transcript. You attach the pages of the
   22    transcript to the thing that you file so I don't have to go
   23    hunting through 1200 docket entries to find it or through, you
   24    know, basically the entirety of my iPad.
   25               Is that clear enough to everybody?
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     1              Now, here's the deal. The deal is that -- I know
     2   it's 10 after 6:00, folks, but it just seems to me that this
     3   is something I have to at least make a good-faith attempt to
     4   deal with before the openings happen tomorrow. I don't know
     5   that I am going to be able to, but I am going to have to try.
     6   Okay? That means midnight oil is going to be burned, or at
     7   least 9:00 o'clock oil is going to be burned. Okay? Is that
     8   clear enough to everybody? So that's one thing.
     9              Here is thing two. It sounds like to me, in the
   10    course of -- in the course of talking about other things, it
   11    sounded like to me that Mr. Noland made a ruling that I had
   12    precluded something at the prior trial about whether the
   13    defendants could testify to certain things, and then I think I
   14    heard a couple minutes later Mr. Kulwin saying I was going to
   15    go into that.
   16               So I want to remind everybody of one thing. There is
   17    nobody on this earth that wants to try this case a fourth time
   18    less than me. Did I say that right? There is nobody on the
   19    earth that wants to try the case a fourth time less than me.
   20               I am going to repeat what I said before. If I made a
   21    ruling in the prior trial, unless I have overruled it, it's
   22    still a ruling. And if somebody runs afoul of a motion in
   23    limine, the first thing -- I am going to need somebody to show
   24    me, you ruled that inadmissible, Judge, and they just did it.
   25    Thing one, it's going to be a mistrial right then. There is
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     1   not going to be any issue about, oh, we can cure this with a
     2   limiting instruction, period, no, end of discussion. It's a
     3   mistrial right then. It's fees and it's a penalty. Okay?
     4   Because this has happened in this case before, and I am not
     5   going to go back.
     6              And so, everybody, you don't even want to be kicking
     7   up dust on the chalk line. If you think I've made a ruling on
     8   something, you are not to run afoul of it because you don't
     9   want to find out on the other end of it that you did it wrong.
   10    There will be hell to pay. I am just -- that's about the only
   11    way I can put it. There will be hell to pay.
   12               I need to stop for the day. Okay? Is there
   13    something else that has to happen? If there is, tell me now.
   14               MR. KULWIN: Just a couple of things.
   15               THE COURT: What are the couple of things?
   16               MR. KULWIN: There are still a couple non-Monell
   17    motions in limine that you haven't ruled on.
   18               THE COURT: Which?
   19               MR. KULWIN: I think with Villa? Remember Mr. Villa?
   20    You might not -- I'm never going to say that again the rest of
   21    this case.
   22               THE COURT: Non-Monell motions in limine that I
   23    hadn't ruled on?
   24               MR. KULWIN: Yes, Judge.
   25               THE COURT: What I got was that there were some
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     1   motions to reconsider by the defense. I ruled on those.
     2   There were a whole boatload of motions in limine by the
     3   plaintiff. I'm going to wait until you're listening. There
     4   was a whole boatload of motions in limine by the plaintiff,
     5   all but two of which were withdrawn, and I ruled on those.
     6   What did I miss?
     7              MR. KULWIN: Oh, he withdrew it. Okay. Fine.
     8   That's fine.
     9              THE COURT: Yeah.
   10               MR. KULWIN: I apologize. My error, Judge.
   11               THE COURT: Okay.
   12               MR. KULWIN: There's this issue of Tredeste Murray
   13    where the plaintiff has said, you've ruled -- that's the
   14    stalking incident.
   15               THE COURT: Yeah. That's the 1985 firearm.
   16               MR. KULWIN: Exactly.
   17               THE COURT: Pages 8 to 9 of the same ruling.
   18               MR. KULWIN: Right. And what Mr. Loevy represents is
   19    we are not going to go into peaceful lifestyle.
   20               THE COURT: Yep.
   21               MR. KULWIN: And, therefore, fine. That's out.
   22               The question I have is what's "peaceful lifestyle"?
   23               THE COURT: So I am going to quote Harry Blackmun.
   24    I'll know it when I see it.
   25               Here's the deal. Here's the deal. At the conclusion
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     1   of the direct examination, if you think that that line has
     2   been crossed, you say, Judge, I need a sidebar, and we will
     3   discuss it at sidebar.
     4              MR. KULWIN: Thank you. That's exactly what I wanted
     5   to know.
     6              THE COURT: That's the ruling.
     7              MR. KULWIN: Another very minor, real quick one is --
     8              THE COURT: I think it was Harry -- I think it was
     9   Potter Stewart, actually.
   10               MR. KULWIN: It was Potter Stewart. It was Potter
   11    Stewart. I don't know what it is, but I'll know it when I see
   12    it. The good old days.
   13               So the other real quick one is, you know, order of
   14    witnesses, how long -- how many days in advance, you know, to
   15    get --
   16               THE COURT: What did I do -- anybody who was here the
   17    last time around, can you remind me what I did?
   18               MR. MICHALIK: In terms of that, we actually worked
   19    pretty well with Ms. Gorman on that. We had like, you know,
   20    two or three days in advance.
   21               THE COURT: It needs to be a rolling thing, and it
   22    shouldn't be the night before. I am just going to rely on you
   23    if there's a -- so you ought to be -- before you walk out of
   24    here today, you're going to be -- the opening statements are
   25    going to take all of the morning tomorrow, it sounds like to
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     1   me, or close to it. You ought to be telling -- these are our
     2   first six, seven, or eight witnesses.
     3              MR. KULWIN: That's what I was asking.
     4              MR. LOEVY: As soon as he talks to me, then we won't
     5   have a problem.
     6              MR. KULWIN: We did --
     7              THE COURT: Eh.
     8              MR. KULWIN: Forget I said that.
     9              THE COURT: No, that means technical foul.
   10               MR. KULWIN: Okay. Technical foul.
   11               THE COURT: It means both, actually.
   12               MR. KULWIN: I won't say, as you recall, or, I know
   13    you remember. I won't do that either.
   14               Can I just urge the Court one thing? This is such a
   15    critical issue.
   16               THE COURT: Which?
   17               MR. KULWIN: This Vaughn/White --
   18               THE COURT: Yeah, that's why I want something in
   19    writing.
   20               MR. KULWIN: I understand that, and we're going to
   21    burn the midnight oil.
   22               My preference would be is that you tell both parties
   23    no reference to Vaughn --
   24               THE COURT: So, look, here is the deal. What I said
   25    is that I am going to make my best efforts to rule on it
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     1   before you give opening statements, even if that means we
     2   start a little late tomorrow. Okay? You are going to get me
     3   stuff tonight, and I am going to do my best to rule on it in
     4   the morning.
     5              If I can't rule on it in the morning, then I will
     6   figure out what happens next. The possibilities would be you
     7   don't get to talk about it or you get to talk about it, or you
     8   get to talk about some of it but not all of it, and here is
     9   what you get to talk about.
   10               MR. KULWIN: Thank you, Judge.
   11               THE COURT: My goal is to try to rule on it, and if I
   12    can't rule on it, I will figure out what happens next.
   13               Anything else?
   14               MR. KULWIN: Rachel wants to know what time we have
   15    to file it by tonight.
   16               MR. LOEVY: Are you going to read it tonight or
   17    tomorrow, your Honor?
   18               THE COURT: You have to get the person in the
   19    negotiating position on this.
   20               MS. KATZ: Whatever --
   21               THE COURT: You mean he is not writing it?
   22               MR. KULWIN: No --
   23               MS. KATZ: The good writing, I will take that as a
   24    compliment.
   25               MR. KULWIN: She does the writing. I do the editing.
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     1              MS. KATZ: Whenever your Honor will read --
     2              THE COURT: No, no, you have to give a position.
     3              MS. KATZ: 10:00 o'clock?
     4              THE COURT: 9:30.
     5              MR. KULWIN: Thanks, Judge. Have a good evening,
     6   your Honor.
     7              THE COURT: Anything that absolutely has to be talked
     8   about before tomorrow morning?
     9              MR. LOEVY: The answer is no.
   10               MS. KATZ: No.
   11               THE COURT: Okay. Have a lovely evening, those of
   12    you who are not writing.
   13       (Which were all the proceedings had in the above-entitled
   14    cause on the day and date aforesaid.)
   15      I certify that the foregoing is a correct transcript EXCERPT
         from the record of proceedings in the above-entitled matter.
   16
   17    Carolyn R. Cox                                 Date
         Official Court Reporter
   18    Northern District of Illinois
   19    /s/Carolyn R. Cox, CSR, RPR, CRR, FCRR
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